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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLORADO
                                       Judge John L. Kane

  Civil Action No. 09-cv-00938-JLK consolidated with No. 10-cv-00765-JLK

  JAMES P. TENNILLE, ROBERT SMET, ADELAIDA DELEON AND YAMILET
  RODRIGUEZ, individually and on behalf of all others similarly situated,

          Plaintiffs,

  v.

  THE WESTERN UNION COMPANY and WESTERN UNION FINANCIAL
  SERVICES, INC.,

          Defendants.


                                              ORDER

  Kane, J.

          This matter comes before the Court on Plaintiffs’ Motion of Class Counsel for

  Approval of Attorneys’ Fees, Costs and Expenses and for Approval of Incentive Awards

  (Doc. 195). For the reasons set forth in this Court’s September 23, 2014 Order

  Modifying Magistrate Judge’s Recommendation re Attorney Fees (Doc. 363), the Motion

  is GRANTED. The Court found at the Fairness Hearing that approximately

  $135,239,199.14 will be deposited into the Class Settlement Fund. (Amended Final

  Judgment and Order of Dismissal (“Amended Final Judgment,” Doc. 256) ¶ 13;

  Declaration of Nicki Orr (Doc. 248) at Ex. 1.) Accordingly, it is HEREBY ORDERED:

          1.       Class Counsel shall be paid $40,571,759.70 out of the Class Settlement

  Fund pursuant to Paragraph 5.A of the Stipulation and Agreement of Compromise and




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  Settlement (“Settlement Agreement,” Doc. 172-2) and Paragraph 1 of the Amended Final

  Judgment.

          2.       Each Class Representative—James Tennille, Robert Smet, Adelaida

  DeLeon, and Yamilet Rodriguez— shall be paid $7,500.00 out of the Class Settlement

  Fund pursuant to Paragraphs 4.A and 4.C of the Settlement Agreement and Paragraph 1

  of the Amended Final Judgment.

          3.       The Class Settlement Fund shall be funded, and Class Counsel and Class

  Representatives shall be paid out of the Class Settlement Fund, in the time and manner

  set forth in the Settlement Agreement.



          DONE AND SIGNED this 15th day of October, 2014.

                                             BY THE COURT:


                                             s/John L. Kane
                                             SENIOR U.S. DISTRICT JUDGE




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